             Case 2:21-cv-00811-TSZ Document 40-1 Filed 06/09/22 Page 1 of 3




 1                                                           THE HONORABLE THOMAS S. ZILLY

 2
 3
                             UNITED STATES DISTRICT COURT
 4                     FOR THE WESTERN DISTRICT OF WASHINGTON
 5
 6   BUNGIE, INC., a Delaware corporation,
                                                               Cause No. 2:21-cv-0811 TSZ
 7
                                Plaintiff
 8
                                                               DECLARATION OF JEFFREY
                                                               CONWAY IN SUPPORT OF
 9                              v.                             DEFENDANTS’ MOTION TO
                                                               DISMISS
10   AIMJUNKIES.COM, a business of unknown
     classification; PHOENIX DIGITAL GROUP
11                                                Note on Motion Calendar:
     LLC, an Arizona limited liability company;
                                                  July 1, 2022
12   JEFFREY CONWAY, an individual; DAVID
     SCHAEFER, an individual; JORDAN GREEN,
13   an individual; and JAMES MAY, an individual, Oral Argument Requested
14                              Defendants.

15
16
             I, Jeffrey Conway, under penalty of perjury under the laws of the United States, state
17   and declare as follows:
18
             1.      I am one of the individual Defendants in the above captioned matter and have
19
                     knowledge of the facts stated herein.
20
             2.      Prior to March 7, 2021, I was an Officer and Director of Defendant Phoenix
21
                     Digital Group LLC. At present, I have no connection with, or interest in,
22
                     Phoenix Digital Group LLC.
23
             3.      I have never accessed any website owned, operated or controlled by Plaintiff
24
                     Bungie, Inc.
25
             4.      I have never played or otherwise participated in any computer game offered or
26
                     otherwise made available by Bungie Inc., including “Destiny 2.”
27
28
                                                                             MANN LAW GROUP PLLC
     Conway Declaration                                                      403 Madison Ave. N. Ste. 240
                                               Page 1                        Seattle, WA 98110
     Cause No. 21-CV-0811-TSZ                                                Phone: 206.436.0900
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 1           5.      I have never downloaded, reviewed, read,          “accepted,” “clicked-on” or
 2                   otherwise agreed to the “Limited Software License Agreement” that Plaintiff
 3                   Bungie Inc. asserts in this action.
 4           6.      I have never consented to be bound by the terms of the “Limited Software
 5                   License Agreement” that Plaintiff Bungie Inc. asserts in this action.
 6           7.      I do not personally design, develop write or otherwise create software for
 7                   providing advantages in playing computer games, otherwise referred to by
 8                   Bungie as “cheat software.”
 9           8.      I have never personally designed, developed writen or otherwise created
10                   software for providing advantages in playing computer games, otherwise
11                   referred to by Bungie as “cheat software.”
12           9.      I do not own property in the State of Washington, nor do I have any personal
13                   or business accounts in the State of Washington. I conduct no business in the
14                   State of Washington.
15
16           Dated June 9, 2022.
17
18                                                             Jeffrey Conway

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                                                                              MANN LAW GROUP PLLC
     Conway Declaration                                                       403 Madison Ave. N. Ste. 240
                                                Page 2                        Seattle, WA 98110
     Cause No. 21-CV-0811-TSZ                                                 Phone: 206.436.0900
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